        Case 3:14-cr-00020-N             Document 156              Filed 11/21/14       Page 1 of 1         PageID 490
                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION DIVISION


UNITED STATES OF AMERICA                                       §
                                                               §
v.                                                             §     CASE NO.: 3:14-CR-00020-N
                                                               §
CLAUDIA GONZALEZ (9)                                           §

                     ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate
Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. §
636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge
concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of
guilty, and CLAUDIA GONZALEZ (9) is hereby adjudged guilty of 8 USC § 1325(c) and 18 USC § 2 Marriage Fraud;
Aiding and Abetting. Sentence will be imposed in accordance with the Court's scheduling order.

☐       The defendant is ordered to remain in custody.

☒       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the defendant is
        not likely to flee or pose a danger to any other person or the community if released and should therefore be released under §
        3142(b) or (c).

☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
        for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any other
        person or the community if released under § 3142(b) or (c).

☐       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United States
        Marshal no later than __________________________.

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        ☐       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        ☐       The Government has recommended that no sentence of imprisonment be imposed, and
        ☐       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release for
                determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any
                other person or the community if released under § 3142(b) or (c).

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed a motion alleging
        that there are exceptional circumstances under § 3145(c) why he/she should not be detained under § 3143(a)(2). This matter
        shall be set for hearing before the United States Magistrate Judge who set the conditions of release for determination of
        whether it has been clearly shown that there are exceptional circumstances under § 3145(c) why the defendant should not be
        detained under § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is likely to
        flee or pose a danger to any other person or the community if released under § 3142(b) or (c).

SIGNED this 21ST day of November, 2014.

                                                                      ________________________________________
                                                                      DAVID C. GODBEY
                                                                      UNITED STATES DISTRICT JUDGE
